
Per Curiam.
Steven Burns was sentenced in 1999 to eight concurrent sentences of thirty-five years' imprisonment for the offenses of second-degree murder, robbery with a firearm, and two counts of armed burglary, among others. He was fourteen when he committed the crimes. He now appeals the denial of his motion for postconviction relief filed pursuant to Florida Rule of Criminal Procedure 3.850. He asserts that his sentence is illegal under Kelsey v. State , 206 So.3d 5 (Fla. 2016). We disagree and affirm.
Burns' thirty-five year sentences do not violate Kelsey . Id. He was not sentenced to a life, mandatory life, or a de facto life sentence. See Davis v. State , 214 So.3d 799 (Fla. 1st DCA 2017). Furthermore, as Burns was not sentenced to life with possibility of parole after twenty-five years, the *1290decision of State v. Michel , 257 So.3d 3 (Fla. 2018), is inapplicable.
AFFIRMED .
Lewis, Makar, and M.K. Thomas, JJ., concur.
